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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                      Office of the Clerk
        United States Courthouse
                                                                     Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                     www.ca7.uscourts.gov
          Chicago, Illinois 60604




August 9, 2021

By the Court:

                                     JOHN DOE,
                                             Plaintiff - Appellant

No. 21-2360                          v.

                                     LOYOLA UNIVERSITY OF CHICAGO,
                                             Defendant - Appellee
Originating Case Information:
District Court No: 1:20-cv-07293
Northern District of Illinois, Eastern Division
District Judge Manish S. Shah


Upon consideration of the UNOPPOSED MOTION TO WITHDRAW NOTICE OF APPEAL
OF PLAINTIFF-APPELLANT, filed on August 9, 2021, by counsel for Appellant John Doe,

IT IS ORDERED that this case is DISMISSED, pursuant to Federal Rule of Appellate
Procedure 42(b).


form name: c7_FinalOrderWMandate          (form ID: 137)
